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 6
                          UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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     KIMBERLY BARSAMIAN,                            )   1:07-cv-00316 OWW GSA
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10                                                  )   ORDER REGARDING EXPERT WITNESS
                            Plaintiff,              )   REPORTS AND INDEPENDENT MENTAL
11                                                  )   EXAMINATION DATE
            v.                                      )
12                                                  )
     CITY OF KINGSBURG, MARTIN SOLIS, )
13   individually and in his official capacity as a )
     Police Officer for the City of Kingsburg       )
14   Police Department, and DOES 1 through          )
     100 inclusive,                                 )
15                                                  )
                            Defendants.             )
16                                                  )
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            On July 18, 2008, the court conducted an informal discovery conference. Peter Kapetan
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     appeared telephonically on behalf of Plaintiff Kimberly Barsamian. Alfred Gallegos appeared
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     telephonically on behalf of Defendant City of Kingsburg. Based on information presented to the
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     court during the informal discovery conference regarding the status of the Plaintiff, and good
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     cause appearing, the court ORDERS as follows:
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            1.      The current deadline of August 11, 2008, to disclose expert reports, which is set
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                    forth in the Second Amended Scheduling Order issued on June 16, 2008, is
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                    VACATED;
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            2.      Plaintiff Kimberly Barsamian does not have to appear for the independent mental
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                    examination at its currently scheduled date and time;
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            3.      A status conference is SCHEDULED for August 27, 2008, at 9:30 a.m. in
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 1                     Courtroom 10 before the Honorable Gary S. Austin. The parties are directed to
 2                     submit a joint status report to the court on or before Friday, August 22, 2008.
 3            IT IS SO ORDERED.
 4            Dated:      July 18, 2008                       /s/ Gary S. Austin
     6i0kij                                              UNITED STATES MAGISTRATE JUDGE
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